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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

BLITZSAFE TEXAS, LLC,


              Plaintiff,


v.                                            Case No. 2:17-cv-00423-JRG


MAZDA MOTOR CORPORATION ET
AL.,

              Defendants.



  ORDER GRANTING UNOPPOSED MOTION TO EXTEND DEFENDANT MAZDA
  MOTOR OF AMERICA, INC. d/b/a MAZDA NORTH AMERICAN OPERATIONS’
 DEADLINE TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF BLITZSAFE
                 TEXAS LLC’S AMENDED COMPLAINT


       Before the Court is the Defendant’s Unopposed Motion to Extend Defendant Mazda
Motor of America, Inc. d/b/a Mazda North American Operations’ Deadline to Answer or
    .
Otherwise Respond to Plaintiff Blitzsafe Texas LLC’s Amended Complaint (Dkt. No. 37).
Having considered the Motion, the Court is of the opinion that it should be and hereby is
GRANTED.
       Accordingly, it is ORDERED that the deadline for Mazda Motor of America, Inc. d/b/a
Mazda North American Operations to answer, move, or otherwise response to Plaintiff’s
Complaint is extended up to and including November 3, 2017. No further extensions of time on
this matter will be granted.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 18th day of October, 2017.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE
